                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                                   5:15-cv-118-RLV
                               (5:13-cr-53-RLV-DSC-11)

LARRY DON BROWN,                                         )
                                                         )
                        Petitioner,                      )
                                                         )
vs.                                                      )               ORDER
                                                         )
UNITED STATES OF AMERICA,                                )
                                                         )
                  Respondent.                            )
______________________________________                   )

        THIS MATTER is before the Court on Petitioner’s Motion under 28, United States

Code, Section 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody.

(Doc. No. 1).

         Petitioner moves to vacate his conviction and sentence under 28 U.S.C. § 2255, arguing,

in part, that his trial counsel failed to file a notice of appeal despite his request that counsel file a

notice of appeal on his behalf. (Doc. No. 1-2 at 9). The Government filed a Response on

December 28, 2015, conceding that this Court should grant Petitioner’s motion to vacate in part;

enter an amended judgment permitting Petition to file a timely notice of appeal; and dismiss

Petitioner’s remaining claims without prejudice. (Doc. No. 7).

        The Court agrees with the Government that the Court’s resources would best be served

by granting the motion to vacate to the extent that Petitioner brings a claim for ineffective

assistance of counsel based on counsel’s failure to file a notice of appeal on Petitioner’s behalf

after Petitioner instructed him to do so. The Court will, therefore, vacate the original judgment

and enter a new judgment from which an appeal may be taken, and the Court will dismiss


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Petitioner’s remaining claims without prejudice.

       IT IS, THEREFORE, ORDERED that:

       1. For the reasons stated herein, the Court GRANTS Petitioner’s Motion to Vacate with

           respect to his claim for ineffective assistance of counsel based on counsel’s failure to

           file a notice of appeal on Petitioner’s behalf.     Petitioner’s remaining claims are

           dismissed without prejudice to Petitioner to refile the petition after the Fourth Circuit

           has adjudicated Petitioner’s appeal.

       2. The Clerk shall amend the judgment consistent with this Order, so that Petitioner may

           file a Notice of Appeal to the Fourth Circuit Court of Appeals.

       3. Petitioner is hereby advised that he has the right to appeal his criminal case to the

           United States Fourth Circuit Court of Appeals. Should Petitioner choose to appeal, he

           must file a Notice of Appeal with the Clerk of Court for the United States District Court

           for the Western District of North Carolina within 14 (fourteen) calendar days after the

           date the Amended Judgment of conviction is filed or within 14 (fourteen) calendar days

           after any government appeal is filed, whichever is later. FED. R. APP. P. 4(b)(1)(A).

 Signed: January 8, 2016




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